
22 So.3d 744 (2009)
Clayton WILLIAMS, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-1136.
District Court of Appeal of Florida, Fifth District.
November 17, 2009.
*745 James S. Purdy, Public Defender, and Rose M. Levering, Assistant Public Defender, Daytona Beach, for Appellant.
Clayton Williams, Daytona Beach, pro se.
Bill McCollum, Attorney General, Tallahassee, and Carlos A. Ivanor, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See § 9.140(b)(2)(A)(ii), Fla. R.App. P.; § 924.06(3), Fla. Stat. (2009).
MONACO, C.J., SAWAYA and EVANDER, JJ., concur.
